                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF WISCONSIN


ENDEL WILLIAMS,

              Plaintiff,
                                                 CIVIL ACTION NO. 18 CV 1232
v.

CITY OF RACINE,

              Defendant.


                                NOTICE OF APPEARANCE


       PLEASE TAKE NOTICE, that the undersigned attorney, Christopher M. Kloth of

MCDONALD & KLOTH, LLC, hereby enters his appearance of record for the Plaintiff, Endel

Williams, in the above-captioned matter.

       Dated on this 14th day of August, 2018.

                                                 MCDONALD & KLOTH, LLC
                                                 Attorneys for Plaintiff


                                           By:   s/Christopher M. Kloth
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